    JS 44      (Rev. 08/16)                Case 8:19-cv-02032-GJH
                                                             CIVILDocument
                                                                   COVER 1-1  Filed 07/10/19 Page 1 of 2
                                                                           SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                                      DEFENDANTS
    Oliver James, Jr.                                                                                                    Washington Metropolitan Area Transit Authority
                                                                                                                         Greenpark Corporation d/b/a Greenbelt Road Shell
        (b)      County of Residence ofFirst Listed Plaintiff                Prince Georg's County, MD                     County of Residence of First Listed Defendant                   _D
                                                                                                                                                                                            _.C
                                                                                                                                                                                              _.                          _
                                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                           NOTE:      TN LAND CONDEMN ATION CASES, USE THE LOCATION OF
                                                                                                                                      THE TRACT OF LAND INV OLVED.


        ( C)     Attorneys (Firm Name. Address. and Telephone N11mbe1)                                                      Attorneys 1/f Known)

    Justin Turner, 401 E. Pratt St., Suite 444, Baltimore, MD 21202                                                  Nicholas Phucas, 600 Fifth Street, N.W., Washington, D.C. 20001
                                                                                                                     Sanford Friedman 1010 Vermont Ave., N.W., #718, Wash., D.C.
                                                                                                                     20005
    II. BASIS OF JURISDICTION (Placean "X" in One Box On(v)                                                  III. CITIZENSHIP OF PRINCIP AL PARTIES (Place an "X" in One Boxfor Plaint i¡
                                                                                                                       (For Diversity Cases Only)                                              and One Box for Defendant}
    O I        U.S. Government                ~ 3       Federal Question                                                                         PTF         DEF                                              PTF       DEF-
                 Plaintiff                                (U.S. Government Not a Party)                          Citizen of This State           O I         o            Incorporated or Principal Place       O   4    O 4
                                                                                                                                                                            of Business In This State

    O 2        U.S. Government                O 4       Diversity                                                Citizen of Another State          o   2     o        2   Incorporated and Principal Place      o   5    O 5
                  Defendant                               (Indicate Citizenship o_{ Parties in Item III)                                                                     of Business ln Another State

                                                                                                                 Citizen or Subject of a           o   3     o        3   Foreign Nation                        o   6    Cl 6
                                                                                                                    Forci n Count

    IV NATURE OF SUIT (Place an                           "X" in O11e Bor Only)                                                                         Click here for·..Na turc: of Suit Code Descrioiions
I                 CONTRACT                                               TORTS                                     FORFEITURE/PENALTY                         BANKRUPTCY                      OTHER STATUTES                      I

    o   I IO   Insurance                       PERSONAL INJURY                      PERSONAL INJURY              O 625 Drug Related Seizure            O 422 Appeal 28 USC 158                 o  375 False Claims Act
    o   120    Marine                        O 31 O Airplane                    O 365 Personal Injury -                  of Property 21 USC 881        O 423 Withdrawal                        o  376 Qui Tam (31 USC
    o   I 30   Miller Act                    O 315 Airplane Product                   Product Liability          O 690 Other                                     2s   use 157                          3729(a))
    o   140    Negotiable Instrument                   Liability                O 367 Health Care/                                                                                             o  400 State Reapportionment
    o   150    Recovery of Overpayment       O 320 Assault, Libel &                   Pharmaceutical                                                       PROPERTY RIGHTS                     o  410 Antitrust
               & Enforcement of Judgment               Slander                        Personal Injury                                                  O 820 Copyrights                        o  430 Banks and Banking
    o   151    Medicare Act                  O 330 Federal Employers'                 Product Liability                                                O 830 Patent                            o  450 Commerce
    o   I 52   Recovery of Defaulted                   Liability                O 368 Asbestos Personal                                                O 840 Trademark                         o  460 Deportation
               Student Loans                 O 340 Marine                              Injury Product                                                                                          o                              '
                                                                                                                                                                                                  4 70 Racketeer Influenced and
               (Excludes Veterans)           O 345 Marine Product                      Liability               LABOR                                       ~ " IAL SECIJRITY                           Corrupt Organizations
    o   153    Recovery of Overpayment                  Liability                 PERSONAL PROPERTY O 710 Fair Labor Standards                         O   861   HIA (1395!1)                  o  480 Consumer Credit
               of Veteran's Benefits         ~ 350     Motor Vehicle            O 370 Other Fraud                        Act                           O   862   Black Lung (923)              o  490 CabldSat TV
    o   160    Stockholders' Suits           O 355     Motor Vehicle            O 3 7 I Truth in Lending         O 720   Labor/Management              O   863   DIWC/DIWW (405(g))            o  850 Securities/Commodities/
    o   190    Other Contract                          Product Liability        O 380 Other Personal                     Relations                     O   864   SSID Title XVI                         Exchange
    o   195    Contract Product Liability    O 360     Other Personal                   Property Damage          O 740   Railway Labor Act             O   865   RSI (405(g))                  o  890 Other Statutory Actions
    o   196    Franchise                               Injury                   O 385 Property Damage            O 751   Family and Medical                                                    o  891 Agricultural Acts
                                             O 362     Personal Injury -                Product Liability                Leave Act                                                             CJ 893 Environmental Matters
                                                       Medical Malpractice                                       O 790   Other Labor Litigation                                                o  895 Freedom of Information
I              REAL PROPERTY                      CMLRIGHTS                      PRISONER PETITIONS              O 791   Employee Retirement               FEDERAL TAX SUlTS                           Act                  -
    O   2IO    Land Condemnation             O   440
                                                   Other Civil Rights       Habeas Corpus:                               Income Security Act           O 870 Taxes (U.S. Plaintiff             o   896 Arbitration
    O   220    Foreclosure                   O   441
                                                   Voting                 O 463 Alien Detainee                                                               or Defendant)                     o   899 Administrative Procedure
    O   230    Rent Lease & Ejcctment        O   442
                                                   Employment             O 5 I O Motions to Vacate                                                    O 871 IRS- Third Party                          Act/Review or Appeal of
    O   240    Torts to Land                 O   443
                                                   Housing/                       Sentence                                                                   26 USC 7609                               Agency Decision
    O   245    Tort Product Liability              Accomm odations        O 530 General                                                                                                        o   950 Constitutionality of
                                                                                                                                                                                                                            '
    O   290    All Other Real Property       O 445 Amer. w/Disabilities - O 535 Death Penalty                            IMMIGRATION                                                                   State Statutes
                                                   Employment               Other:                               O 462 Naturalization Application
                                             O 446 Amer. w/Disabilitics - O 540 Mandamus & Other                 O 465 Other Immigration
                                                   Other                  O 550 Civil Rights                             Actions
                                             O 448 Education              O 555 Prison Condition
                                                                          O 560 Civil Detainee -
                                                                                  Conditions of
                                                                                  Confinement

    V. ORIGIN                (Place an "X" in One Box Only)
    O I        Original           ~2 Removed from                   O 3       Remanded from                 O 4 Reinstated or       O 5 Transferred from                  O 6 Multidistriet             O 8 Multidistrict
               Proceeding            State Court                              Appellate Court                    Reopened                    Another District                   Litigation -                  Litigation -
                                                                                                                                             (specify)                          Transfer                      Direct File
                                                  Cite the U.S. Civil Statute under which YC!U are filing (Do 1101 cite jurisdictional statutes unless diversity):
                                                  Public Law 89-774, reprinted at Md. Trans. Code Ann. 10-201 (81)
    VI. CAUSE OF ACTION                          1-B-r-
                                                      ie-
                                                        f-de-s-
                                                              cr-ip-ti_
                                                                      o_n-
                                                                         of_e_a_
                                                                               u-se-: -'-----------------'---'-------------------
                          Plaintiff claims personal injuries subsequent to a motor vehicle accident
    VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION           DEMAND$                       CHECK YES only if demanded in complaint:
         COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                $15,000.00                    JURY DEMAND:         O Yes     OXNo
    VIII. RELATED CASE(S)
                            (See instructions):
          IF ANY                                JUDGE                                     .--~cKET NUMBER
    DATE

                 1
    FOROFFIC

        RECEIPT#                         AMOUN T                                       APPLYING IFP                                        JUDGE                                 MAG.JUDGE
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. lfthe plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of tiling. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract ofland involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. lfthere are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box I or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

Ill.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. lfthere are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.


V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (I) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date ofremand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation -Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.    Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
